8:06-cr-00207-LES-TDT   Doc # 92   Filed: 02/02/07   Page 1 of 1 - Page ID # 277

               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:06CR207
                              )
          v.                  )
                              )
SAMUEL HERNANDEZ,             )                      ORDER
                              )
               Defendant.     )
______________________________)


          IT IS ORDERED that sentencing is rescheduled for:

                Tuesday, February 6, 2007, at 10 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.

          DATED this 2nd day of February, 2007.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
